            2:03-cv-02079-DGB # 45        Page 1 of 1
                                                                                              E-FILED
                                                                  Friday, 14 January, 2005 04:46:25 PM
                                                                          Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

RAMADA FRANCHISE SYSTEMS, INC.,                    )
a Delaware corporation,                            )
                                                   )
                 Plaintiff,                        )
                                                   )
          v.                                       )          Case No. 03-2079
                                                   )
DAVID H. CLEMMONS,                                 )          Hon. David C. Bernthal
an individual,                                     )
                                                   )
                 Defendant.                        )

                                      JUDGMENT ORDER

          This matter having come before the Court pursuant to Local Rule 54.1 and upon plaintiff

Ramada Franchise Systems, Inc.’s Petition for Award of Attorneys’ Fees and Costs against

defendant David H. Clemmons, and the Court having been fully advised,

          IT IS HEREBY ORDERED THAT:

          Judgment is hereby entered in favor of plaintiff Ramada Franchise Systems, Inc. and

against defendant David Clemmons in the amount of $246,822.67 as follows:

          1.     On Counts I, II, IV, VI and VII of the Verified Complaint in the amount of

$83,176.00; and

          2.     On Count IX of the Verified Complaint in the amount of $50,000; and

          3.     On Count XI of the Verified Complaint in the amount of $86,348.03; and

          4.     Attorneys’ fees and costs in the amount of $27,298.64,

plus post-judgment interest.
                                              ENTERED:

Dated:
                                              Magistrate Judge David C. Bernthal


CH1\ 4220761.1
